
Andrews, Judge.
In Harper v. State , 338 Ga. App. 535, 790 S.E.2d 552 (2016), we affirmed David Lamar Harper's conviction for criminal trespass pursuant to OCGA § 16-7-21 (a), reversed his conviction for criminal trespass pursuant to OCGA § 16-7-21 (b) (2), vacated the trial court's sentence, and remanded the case to the trial court for resentencing. In State v. Harper , 303 Ga, 144, 810 S.E.2d 484 (2018), the Supreme Court granted certiorari to consider this Court's reversal of Harper's conviction for criminal trespass pursuant to OCGA § 16-7-21 (b) (2), and reversed our judgment on that issue by affirming Harper's conviction for criminal trespass pursuant to OCGA § 16-7-21 (b) (2). Accordingly, the judgment of the Supreme Court is made the judgment of this Court, Harper's convictions for criminal trespass pursuant to OCGA § 16-7-21 (a) and OCGA § 16-7-21 (b) (2) are affirmed, and trial court's sentence for those convictions is reinstated.
Judgment affirmed.
Doyle, P. J., and Ray, J., concur.
